JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION
CARLOS YAKIMOWICH, Case No. CV 20-01317-VAP (DFM)
Plaintiff, JUDGMENT
V.
ERIC ZAMBRANO et al.,
Defendants.

 

 

Pursuant to the Court’s Order Accepting the Report and

Recommendation of United States Magistrate Judge,
IT IS ADJUDGED that the Complaint and entire action is dismissed

without prejudice for failure to prosecute.

Vegeta Oe Phachate

Date: October 21, 2020

VIRGINIA A. PHILLIPS
United States District Judge
